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                                      EXHIBIT 17
                  Affidavit of Peter J. Murphy
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


DAVID S.L. PARKS
     Plaintiff,

      v.                                              3:09-CV -00604-VLB

THERESA LANTZ, et al.
    Defendants.                                       MAY 29,2014



           AFFIDAVIT OF DISTRICT ADMINISTRATOR PETER J. MURPHY

I, Peter J. Murphy, hereby depose and say:

   1. I am of sound mind and legal age.

   2. I am over eighteen years of age and understand the nature and obligations

      of an oath.

   3. I currently serve as the Administrator for District 2, External Security, and

      the Correctional Transportation Unit (CTU). I have held this position since

      March of 2014.

   4. Before that, I served as Warden of the Enfield Correctional Institution from

      January of 2014 until March of 2014. Prior to serving as the Warden at

      Enfield Cl, I was the Warden of the MacDougall-Walker Correctional

      Institution of the Department of Correction of the State of Connecticut from

      April of 2007 until December of 2013. As Warden, I directed the operations

      and activities of this correctional facility.

   5. I joined the Department of Correction as a Correction Officer at the Enfield

      Correctional Institution in September of 1985. My duties consisted of care
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   and custody of inmates. I was promoted to Treatment Officer at the

   Somers Correctional Institution in 1988. I was assigned to reception

   diagnostic units, for classification issues, which included, among other

   things, evaluating inmates for security risks and classifying them relevant

   to both custody and treatment, i.e., program needs.

6. I became Correctional Rehabilitation Service Officer in 1990 with

   responsibilities for case work of nearly 300 inmates, work which included

   security issues. I worked on a major prison overcrowding court case and

   have also provided testimony in Federal Court on departmental and

   institutional records and issues.

7. I then served as Counselor Supervisor and Unit Manager. As Counselor

   Supervisor I oversaw staff who were responsible for case work which

   included classification and treatment of inmates. This included where an

   inmate should be housed. As Unit Manager I was in charge of a specific

   housing area for inmates, including their custody and treatment.

8. While assigned to the Walker Reception Center, I was part of a team that

   developed models utilized by the Department of Correction for managing

   inmates classified to Administration Segregation and Chronic Discipline.

   This also involved security issues.

9. I was appointed in 1995 Deputy Warden of Treatment and later of

   Operations at the Northern Correctional Institution, which has the highest

   level of security in this state. My duties also included classification of



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   inmates, which involved security issues, but at a higher level position with

   more responsibility.

10.1 have also served as Warden at other facilities: Radgowski Correctional

   Institution, appointed 1997; Willard-Cybulski Correctional Institution,

   appointed 1999; the Hartford Correctional Center, appointed 2000; and the

   Enfield Correctional Institution, appointed July, 2004.

11.1 was appointed Warden of the MacDougall-Walker Correctional Institution

   in April of 2007.

12.1 hold a Bachelor of Arts Degree from the University of Massachusetts.

13. My training includes attendance at the Maloney Center for Training and

   Development, which is the training academy for the Connecticut

   Department of Correction. I have attended these courses 20 to 30 times

   over the years. These training sessions included security issues. My

   training has also included on the job training under various supervisors. In

   addition, I attended a week long course at the National Institute of

   Corrections for wardens, which was a training course specifically designed

   for newly promoted wardens. It included security issues, safety and

   management of inmates, safety of the public and other security matters.

14. The MacDougall-Walker Correctional Institution is a level 4/5,

   high/maximum security level multi-mission facility for adult males.

   MacDougall-Walker houses approximately several thousand inmates.

   Based on its offender population, it is the largest correctional facility in

   New England.
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15. The MacDougall-Walker C.l. provides a highly structured environment to

   manage long-term sentenced offenders, protective custody offenders and

   high bond unsentenced offenders with programs designed to address the

   needs of each population.

16. These inmates present the highest risk of management because of the

   length of their sentences, their criminal history, and the potential for

   escape and/or disruptive behavior.

17.1 am familiar with plaintiff, David Parks, 208867. The plaintiff stands

   convicted of numerous offenses, including Robbery in the First Degree.

   Inmate Parks is serving a total effective sentence of 11 years. He was

   sentenced on 6/8/2005.

18.1f DOC's medical or mental health professionals determine that an inmate

   should be transferred to another facility in order to meet that inmate's

   medical or mental health needs, they make their recommendation through

   Offender Classification and Population Management (OCPM). OCPM would

   ultimately decide whether to transfer that inmate.

19.As the former Warden of MWCI, I did not have the authority to transfer

   inmates between various DOC facilities. I would not be personally involved

   in the decisions to transfer inmates for medical or mental health reasons.

   was not personally involved in the decisions to transfer the plaintiff

   between Garner and MWCI.




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   20. Finally, I never retaliated against the plaintiff. I hold no ill-will or personal

      animus toward him. All of my actions were taken in good-faith as the

      Warden of MWCI to oversee the facility and its inmates.




                                     VERIFICATION

      I hereby swear that the foregoing is true and accurate to the best of my

knowledge and belief.




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Subscribed and sworn to before me this _-:;;             day of June, 2014.




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